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                                   UNITED STATES DISTRICT COURT
 17
                                 CENTRAL DISTRICT OF CALIFORNIA
 18

 19     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (JEMx)
 20
        LEAGUE’S “SUNDAY TICKET”                       RESPONSE TO STATEMENT OF
        ANTITRUST LITIGATION                           GENUINE ISSUES AND
 21     ______________________________                 ADDITIONAL GENUINE ISSUES
                                                       IN SUPPORT OF THE NFL
 22                                                    DEFENDANTS’ MOTION FOR
        THIS DOCUMENT RELATES TO:                      SUMMARY JUDGMENT
 23
        ALL ACTIONS                                    Judge: Hon. Philip S. Gutierrez
 24                                                    Date: October 27, 2023
                                                       Time: 1:30p.m.
 25                                                    Courtroom: First Street Courthouse
                                                                  350 West 1st Street
 26                                                               Courtroom 6A
                                                                  Los Angeles, CA 90012
 27

 28
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                                              in Support of the NFL Defendants’ Motion for Summary Judgment
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   1    Plaintiffs’ Proposed Undisputed Fact NFL Defendants’ Genuine Issues

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        Evidence:
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               F.        The NFL’s Role in Setting the Price of NFL Sunday Ticket
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        Plaintiffs’ Proposed Undisputed Fact NFL Defendants’ Genuine Issues
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        245. The NFL exerts influence over            245. The NFL Defendants dispute this
  25    the retail price and package                  proposed fact, and the proffered
  26    composition of NFL Sunday Ticket.             evidence does not support Plaintiffs’
                                                      statement.
  27    Evidence:
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  19                                        Individual NFL Clubs

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